[Cite as State v. Peters, 2016-Ohio-7773.]


                                        COURT OF APPEALS
                                    MUSKINGUM COUNTY, OHIO
                                    FIFTH APPELLATE DISTRICT


STATE OF OHIO                                :       JUDGES:
                                             :       Hon. W. Scott Gwin, P.J.
        Plaintiff - Appellee                 :       Hon. John W. Wise, J.
                                             :       Hon. Craig R. Baldwin, J.
-vs-                                         :
                                             :
RONALD PETERS                                :       Case No. CT2015-0064
                                             :
        Defendant - Appellant                :       OPINION



CHARACTER OF PROCEEDING:                             Appeal from the Muskingum County
                                                     Court of Common Pleas, Case No.
                                                     CR2015-1057



JUDGMENT:                                            Affirmed



DATE OF JUDGMENT:                                    November 16, 2016




APPEARANCES:

For Plaintiff-Appellee                               For Defendant-Appellant

D. MICHAEL HADDOX                                    ERIC J. ALLEN
Prosecuting Attorney                                 4605 Morse Rd. Suite 201
                                                     Gahanna, Ohio 43230
By: GERALD V. ANDERSON II
Assistant Prosecuting Attorney
27 North Fifth Street, P.O. Box 189
Zanesville, Ohio 43702
Muskingum County, Case No. CT2015-0064                                                  2



Baldwin, J.

      {¶1}    Appellant Ronald Peters appeals a judgment of the Muskingum County

Common Pleas Court convicting him of failure to comply with the order or signal of a

police officer as a third degree felony (R.C. 2921.331(B), (C)(5)), and tampering with

evidence (R.C. 2921.12(A)(1)). Appellee is the State of Ohio.

                           STATEMENT OF THE FACTS AND CASE

      {¶2}    On April 19, 2015, Trooper Kenneth Schrig of the Ohio State Highway Patrol

was conducting airspeed enforcement on Interstate 70 when he clocked a vehicle driven

by appellant traveling 95 miles per hour. He radioed to Trooper Corey Campbell to stop

appellant. When Tpr. Campbell activated his lights to stop appellant’s vehicle, appellant

increased his speed and began weaving in and out of traffic, driving on the berm, and

splitting cars at speeds between 90 mph and 115 mph. During the chase, a bag was

tossed from the vehicle.

      {¶3}    The chase continued until appellant exited the interstate and drove across

the airfield of the Zanesville Airport. He got out of the car and tossed his car keys in a

trash can. He entered the airport and asked an employee to charter a flight for him. When

he was informed that the airport could not do that for him, he walked outside and appeared

surprised to find police officers waiting for him. Appellant and the passenger in his car,

Chelsea Parker, were arrested. Both claimed that they were unaware the officers were

pursuing them.

      {¶4}    Appellant was indicted with failure to comply with the order or signal of a

police officer as a third degree felony because his conduct created a substantial risk of
Muskingum County, Case No. CT2015-0064                                                  3


harm to persons or property, and tampering with evidence. Appellant entered a plea of

not guilty and the case was set for jury trial on August 27, 2015.

       {¶5}   On August 26, 2015, appellant filed an application for the appointment of a

psychiatrist to examine him at state expense pursuant to R.C. 2945.37. The next morning

just before the start of his trial, appellant made an oral request for a competency

evaluation. Counsel indicated to the court that appellant’s behavior had become erratic,

that appellant told counsel he suffers from schizophrenia as well as depression, and that

appellant felt he was incompetent to move forward and assist counsel in his defense.

Counsel indicated that the information appellant provided for his defense had proven to

be false.

       {¶6}   The court inquired as to the sudden emergence of the competency issue,

as appellant had been represented by counsel for more than four months. Counsel

indicated that there was a moment when it became clear to him that appellant had multiple

personalities, appearing to be Keyser Soze. Further, appellant had another attorney see

him at the jail to patent his record label and clothing line.

       {¶7}   The court then questioned appellant concerning his knowledge of the court

system. Appellant indicated to the court that his attorney represents him, the prosecutor

would prosecute him, and he was in court “allegedly” for an F-3. He indicated to the court

that he knew what he was charged with and knew who the judge was. Appellant spoke

with the judge concerning his diagnosis of paranoid schizophrenia and his need for

medication. The court explained to appellant that mental health and competency were

separate issues. The prosecutor represented that appellant had made specific requests

as to what he wanted to see happen in the case, demonstrating a sophisticated
Muskingum County, Case No. CT2015-0064                                                    4


understanding the nature of the charges. Based on the fact that appellant had a basic

understanding of the system and had only raised his mental health issues to counsel as

they neared the trial date, the court overruled the motion.

       {¶8}   Following trial, appellant was convicted as charged. Between trial and

sentencing, the trial court ordered a competency evaluation of appellant. The report of

the psychiatrist indicated that appellant was malingering, or exaggerating/feigning his

symptoms to avoid dealing with his legal issues. The psychiatrist opined to a reasonable

degree of psychological certainty that appellant was capable of understanding the nature

and objective of the proceedings against him, and to assist in his defense. The trial court

sentenced appellant to thirty-six months incarceration on each count, to be served

consecutively.

       {¶9}   Appellant assigns a single error on appeal:

       {¶10} “THE TRIAL COURT ERRED BY DENYING APPELLANT’S REQUEST

FOR A COMPETENCY EVALUATION.”

       {¶11} R.C. 2945.37 provides in pertinent part:

              (B) In a criminal action in a court of common pleas, a county court,

       or a municipal court, the court, prosecutor, or defense may raise the issue

       of the defendant's competence to stand trial. If the issue is raised before the

       trial has commenced, the court shall hold a hearing on the issue as provided

       in this section. If the issue is raised after the trial has commenced, the court

       shall hold a hearing on the issue only for good cause shown or on the court's

       own motion.
Muskingum County, Case No. CT2015-0064                                                     5


              (C) The court shall conduct the hearing required or authorized under

       division (B) of this section within thirty days after the issue is raised, unless

       the defendant has been referred for evaluation in which case the court shall

       conduct the hearing within ten days after the filing of the report of the

       evaluation or, in the case of a defendant who is ordered by the court

       pursuant to division (H) of section 2945.371 of the Revised Code to undergo

       a separate intellectual disability evaluation conducted by a psychologist

       designated by the director of developmental disabilities, within ten days

       after the filing of the report of the separate intellectual disability evaluation

       under that division. A hearing may be continued for good cause.

              (F) The court shall not find a defendant incompetent to stand trial

       solely because the defendant is receiving or has received treatment as a

       voluntary or involuntary mentally ill patient under Chapter 5122. or a

       voluntary or involuntary resident with an intellectual disability under Chapter

       5123. of the Revised Code or because the defendant is receiving or has

       received psychotropic drugs or other medication, even if the defendant

       might become incompetent to stand trial without the drugs or medication.

       {¶12} Appellant argues that the court erred in failing to order a psychiatric

evaluation of his competence, and by failing to hold a hearing concerning competency.

       {¶13} Where the issue of the defendant's competency to stand trial is raised prior

to the trial, a competency hearing is mandatory. State v. Bock, 28 Ohio St.3d 108, 109,

502 N.E.2d 1016 (1986). However, the failure to hold a competency hearing is harmless

error where the record fails to reveal sufficient indicia of incompetency. Id. at 110.
Muskingum County, Case No. CT2015-0064                                                     6


       {¶14} Although the trial court in the instant case did not hold a separate

evidentiary hearing on the issue of competency, the trial court did inquire of both appellant

and his counsel concerning appellant’s competency before trial began.              Appellant

indicated to the court that his attorney represents him, the prosecutor would prosecute

him, and he was in court “allegedly” for an F-3. He indicated to the court that he knew

what he was charged with and knew who the judge was. Appellant spoke to the judge

concerning his diagnosis of paranoid schizophrenia and his need for medication. The

court explained to appellant that mental health and competency were separate issues.

The prosecutor represented that appellant had made specific requests as to what

happened in the case, demonstrating sophistication in understanding the nature of the

charges.     The colloquy between appellant and the court did not reveal indicia of

incompetency.

       {¶15} Further, while counsel represented to the court that appellant had exhibited

signs of multiple personalities and appellant told the court he was diagnosed with

paranoid schizophrenia and depression, R.C. 2945.37(F) specifically provides that a

defendant is not incompetent solely on the basis of mental illness. Therefore, mental

illness in and of itself does not render appellant incompetent to stand trial. The record

demonstrates that up until shortly before trial, appellant was able to work with counsel,

providing him with information to assist in his defense. The representations of counsel to

the court reflected that appellant’s behavior had only recently become erratic, and his

description of appellant’s behavior reflected indicia of mental illness rather than of

incompetency to stand trial.
Muskingum County, Case No. CT2015-0064                                                    7


       {¶16} Finally, the trial court did order a psychiatric evaluation prior to sentencing

at which competency was addressed. The opinion of the psychiatrist was that appellant

was malingering, or exaggerating/feigning his symptoms to avoid dealing with his legal

issues. The psychiatrist opined to a reasonable degree of psychological certainty that

appellant was capable of understanding the nature and objective of the proceedings

against him, and to assist in his defense. Therefore, any error in failing to order an

evaluation of appellant prior to trial was rendered harmless by the evaluation conducted

shortly after trial and the finding that appellant was competent to stand trial.

       {¶17} The assignment of error is overruled. The judgment of the Muskingum

County Common Pleas Court is affirmed. Costs are assessed to appellant.

By: Baldwin, J.

Gwin, J. and

Wise, J. concur.
